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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                         Chapter 11

 Hartman SPE, LLC,                                              Case No. 23-11452 (MFW)
                          Debtor.


                        MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the below certification, counsel moves for the admission pro
hac vice of Michael G. Menkowitz, Esquire of Fox Rothschild LLP to represent, subject to court approval,
the Official Committee of Unsecured Creditors in the above-captioned case.

Dated: September 26, 2023                         /s/ Stephanie J. Slater
       Wilmington, Delaware                       Stephanie J. Slater (DE No. 6922)
                                                  FOX ROTHSCHILD LLP
                                                  919 North Market Street, Suite 300
                                                  Wilmington, DE 19899
                                                  Telephone: (302) 654-7444
                                                  Email: sward@foxrothschild.com
                                                  Proposed Counsel to the Official Committee of
                                                  Unsecured Creditors

               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of Pennsylvania, and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course
of this action. I also certify that I am generally familiar with this Court’s Local Rules and with Standing
Order for District Court Fund revised 8/31/16. I further certify that the annual fee of $25.00 has been paid
to the Clerk of Court for the District Court.

                                                  /s/ Michael G. Menkowitz
                                                  Michael G. Menkowitz (PA Bar ID No. 060412)
                                                  FOX ROTHSCHILD LLP
                                                  2000 Market Street, 20th Floor
                                                  Philadelphia, PA 19103-3222
                                                  Telephone: (215) 299-2000
                                                  Email: mmenkowitz@foxrothschild.com

                                     ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
